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EXHIBITS

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL ) MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE ) CIVIL ACTION
PRICE LITIGATION ) 01-CV-12257-PBS

THIS DOCUMENT RELATES TO )
U.S. ex rel. Ven-a-Care of ) Judge Patti B. Saris

the Florida Keys, Inc., )

vs. ) Chief Magistrate
Abbott Laboratories, Inc., ) Judge Marianne B.
No. 06-CV-11337-PBS ) Bowler

(Captions continued on following pages)

DEPOSITION OF JOHN M. LOCKWOOD, M.D. - VOLUME III

CONTAINS HIGHLY CONFIDENTIAL PORTIONS
Videotaped deposition of John M. Lockwood, M.D.,

held at the Law Offices of Hunton & Williams, LLP,
1111 Brickell Avenue, Suite 2500, Miami, Florida,
33131, on Wednesday, March 17, 2008, commencing at
9:09 a.m., before Donald W. McKay, RMR, CRR, a

Notary Public for the State of Florida.

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witness. I just want to caution the witness not
to get into substantive communications with
counsel for the Department of Justice or your own
counsel.
THE WITNESS: So that is a disclosure
that I recall --

BY MR. KATZ:

Q. When would that have been?
A. Well, it was prior to filing that
federal case. So it was -- which I don't have

the filing date of. But my recollection is that
occurred sometime in early 2000. So it was
probably in late '99 or early 2000. I don't
know. It was -- Mr. Breen insisted that we go
and disclose all this evidence and explain what
we were doing to the government before we filed
the complaint. So we did that.

Q. Who was at that meeting?

A. Mr. Breen. Myself. Zachary Bentley.
Mark Jones. And for the government?

Q. Yes. And when you say "the

government," you mean the Federal Government?

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A. Yes. The guy who sticks in my mind is
a fellow named Peter Levitt who was with the U.S.
Attorney's Office at that time. And I believe a
guy named George Vien was there, who was also --
V-I-E-N -- yeah -- who was also there at that
time.

Actually, Zach may have had a meeting

with them even earlier than that, where he talked

to a guy named Michael Loucks about some of these

cases.
Q. Spell that last name.
A. L-O-U-C-K-S.
Q. Anyone else at the meeting?
A. Yeah. There were a number of people

there. Those were the people that I could think

Q. Were there any representatives of any
state governments there?

A. At that meeting? I don't think so, no.

Q. Other than representatives of Ven-a-
Care and the Federal Government, was there anyone

else?

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A. Not that I'm aware of. No, I don't
think so.

Q. I think -- well, do you have a specific
recollection of providing information regarding
Dey's Albuterol inhaler during that meeting?

A. That is my recollection, yes. I
believe that that -- in that complaint, Dey was
in that complaint; and the Albuterol inhaler, I
believe, was in that complaint. That was our
goal, to go and explain the case and show them
the pricing and the differentials and the issues.
So that's, you know, my recollection of what we
did at that meeting. That was the point of the
meeting.

Q. I think you were starting to say that
there might have been some subsequent meetings.

A. Well, at -- you know, it's been a few
years. I'm trying to put it together. But at
some point, we were able to give them essentially
a copy of all the drug prices that were available
to us through McKesson, the wholesaler. And

included on that were the prices that were

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